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                Fr\< . FRtJ Dt ~-TR-l c-r OF PE;Nt✓ SYL \J/-'- NlA

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3A. Pf: !W' C P P-F ·: NC . t S
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    \ b· 0 N AOG-0 s T i ?, I
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A      1JtJ JA.t-JVA(!..'/ 111,12. o I 1 A FT ti<- .s Ff-Vl_!-l6' PVNiTtV[ /2CST!2i ! T to"''' ¢1 -r
L£ · . .         A s SA u n -r ~Ir pc AtrJT I FF wA_, Pl Ac re b 1rv TH f' w11: N T Al
   F<,t:        i_-r!-1 UN /T (I'll Hu) \JJI-JFl2t HF corv-r1NuF.!) /o BF 1.ocl<:8!
     _t--lfl\--1 uf!S A r:,AY 1,v1TH O('J[ i--/ouR OF VARb MON-FRI
     fi.-i,~ 0catJI//JVFtl      /-0/c.        AN E)(IENbFD       Ptf:-/OD      As A f'//E"ANS
   OF rv1Af'1AG,/NG- (3Ff-/AVl0/< .
3e,, iH/!.Ol!G/t -n-1csr;- /111(°/\N5 OF (3[/.I/J.V/0/2. J111A/VtACl#G-                   '!i'  PL/1.iNTIFf
    l,\J AS _ s u13 :ff C..TF/) /o bS PFA Cl A /..l Y i../ 11 I'- S f-!__ CO/VD rT IO /\JS O1- 50 l i T A.f2. '(
   cof\.JF'1NfMFN1 lJ.lt-llC!-l Pt/J..C£/J A/J UNA ccrp I ABLY t-Ul f l f-ls k op·
   /-/Af-.fYI TO 1--11r11sFc,F ,As A S[f-t(Jusl'( MFPTAt.cV I Le lrJWIA,E.
  THF {/J.Ck' OF SOC'r/J.l POftvT~ SuPfofl; AwD S~rJ.sof-'( ST1;vt{/i/J.TIO/\~
   iNC,f-[5E/) , tit f{AtNTtFFS AC(/eFSS/0/V/ AwD /fvcvRl?EJ) UPO/v
     f/f/1'1.   PS'(CHOIIC SYtrv1PTOrns NOT FO/c!Vif'/:ly f-,;/"'f///Sl1F/J.
                   Case 2:20-cv-01980-GJP Document 2 Filed 04/21/20 Page 2 of 6
 4 & . Dut I NG-         -r 1-1 t   -r:
                            lfl/) ~- PF RIo b oF -r- A Nu A fc. y 2 o / -71 AND
          AND lrJ RFSPorJ..)f ,o Socu1-l !S0lA,,wrJ,AND o-r1--1Ff: n~pfc/vA~
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         0F SOL t TtAf- '/ CON FI tJ t M ENT; (tA U S'f'b Ac Ts Or 5 r; (F I-I A            (OfJS
       · SELF w1u-nu4-i10N1 AT1t:='MP1'F}) su 1c 1DE Pr(c.10D, OF R-
         -ro EAT; AND {NC~tAl'ED ACTS oF \JIIOLFNCE.
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SB ,       A,~g 'f (ASS ,t,y {-IA S Co MP ( E'Tt C H'A Rcr; AND CorJT'f:O t, 0 F
         _D _P-_:_
   1}-lt WlF,..r;_A L HE/4.l..tH IJtPAf.T(IVlt_=.NT; Al/VD DtSPITF Tf-/F
    Pc. AIN Tl FFS /?. f:PE A Tfil> C0(cJcE S P0/1.l /) FN Cf; AND VER..€, A ,l
   C0NV'EYT fl.IC€ 0 F t-1 IS" l) t S PP,. { f- ANO fl.fl. ti N T/J.,l b G' CL-( rJ 17
   FA!l.f:/) -ro P/2.0V !Dt' EVFN AvJ t/\JD1v1su/A.L Tf?..FA 1 'tv1. FNT,PLA/J
   To f-/EL.P R.-rct"AV-t' Tl-IE PcAIN1/ FF, ,l-fo uC- H s 1--/-F ;vi FF!'
   w !Tl-I T/,-/E VV /4,/c.. /)Ef\J O/VC E A ilv E'c/C· TO l) I .5 Cu S S T t..../F
   Pc A I fJTJ FF Avv D err (...{'F K. JtN yV\ p,-r F~-

6 B.  A-r AND DIJ{GJNC- --r{-lF SPFC iFIF.b 1/VV'l'b Pf/?./ob Tl-If' PlAI/V1)FF
   A11f'JYJP1ED SUlCtD~ orvcE wAS SENT TO TRA UMA R.061v~1 (E/<.)
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  TltJ/Ct TO ST! TCH 11E/f1/ !-le SFV(;/2tlJ; wAs Stt<HFJJ 11-/fcFr
  T /m'Fr 13V OrJ SIGH, tno[)lr/J.l s-rAFF 1 wAS PtAc-FJ) lfJ 1l-/t
  /2FS1J?A1NT c(---IA/,e //v' 7HF FA'cFSS OF / ~ - 1/m C, FO/c StlF
  /--/ A /2 t,-, ~v /-// C H JfV C l (ID G'S: f3 A f\/ CI f..l 6- H {J J-/.f;/J, D / 0 ( A V S :F
  Scfc/OVS i/JTV/?...V Slf{(tJC- Vc ( ;V.S 1 () rAVSF Sc--/?:-/rJVf f-/A/CrVI
   5 [LF s,{cArvC-vc_1A, I Of\), As l,,vFlL AS A.crs OF V(OlFrvCF
   S v c H A S I f-1 f:. 0 w IN G- FECES A fV D fl:, OD I l y F' l U I b S.


1 B. Ti-Jouc1-1 AU- Ac-rs Q.F SElF-1-IAK.M /J.f'tD SFlF- fVIVTtlAT/oN
    Wf/2[ SVrl'PTOr0.S OF I HF fiA /rvf I FF fv1F/VTAl I l lf\/FSS THOSC
    A/VP Act ACTS OF AGGtcFS'S((JN WF/cF 1/c.FA1FJ) ttv1T'f/ /tv1POS!tJC--
       DJSC!POf\l/JifZV---_sANCT(r7rvS                    AND         /)/S /2.FC/4(c})   tOw;/-Vcl)   Tf-/F
  i!fFFF {73 ON 7 (.../F PtA I/VT/FrS /VIF/VTAl /-IFAl_1/-I.

f]B. JAi Tul'( 2018' A CIV'll COIV1 1v11Ttv1Fi,TT' . . FtfJ4(ll AT!O/J vvAS_
    oP-Dff2FiJ AF7rlc Tl-IF PlA/r-rTrFF S-EVF!ZFI> 1s OV'lf'-1 rv1 PPtF 1A1t1f-l
   A   5 TA p L F , I/-/ t Pl /11 r.rT IF f VvAS Fo~rv!) ,o lsc SF~ /(/t/J' l l(
                    LL- /3\( A fv1Et-:_T_Al (-lrAC{H TuJ>C-F_ ~.fVD 0((,DF/<£/)
   /V7Ef'ITA t,,C{ I_
  TO        EC C/V/C tf             co fV'fY' 1-t'f: b    iO    A ST/J.Tfi FA Ct l         t I Y,

         ·tJ ..-tiB/lvA(2..V 'Z.O(q ,HE PcAfN1tFF wAS                            SFf\TT TO rvofttS,offJN
crB. , A;t ~osp,-riAi As                            A ersuc:-r          oF    c1v1L  AfVD CfcrMtNAL
        ~~rVJ ., ,tvtFrvT trl -yuit(                     ?-O l 0      I-IF fct"Tvt/\1~~ -r:o 8 .      c. c.
                                                                                                     F.
       ~~1I> wAS /rv1/Vlr:Dt«rfif                        Pl;fJ..Cli    BA.etc 1/v T/-IF /11!. H. f/,
   orv               23 AN..D       1     L oc /<
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              CAS(tfc, Di strz1c/ OF PE/\ftl::,,(L VANIA Cou(c-r




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Pf.; rv1 CAR£ I NC.



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of GFTII NG \f-\b (J_s, . WIA/t.S /J. ALL<;;
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